Case 5:11-cv-01846-LHK Document 2068-5 Filed 10/20/12 Page 1of3

EXHIBIT 136
Samsung Mesmerize™ | Samsung Phones | Cell Phones | U.S. Cellular

Case 5:11-cv-01846-LHK Document 2068-5 Filed 10/20/12 Page 2 of 3

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screen that is stunningly bright without
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+» 4.0" Super AMOLED™ Screen + Lithium Ion Battery

+ Android™ 2.3 (Gingerbread) + Travel charger/USB Cable

« 5.0 MP Camera/Camcorder « 16GB microSD™ Card
w/flash « Stereo Headset

+ Swype™ Technology + Quick Start Guide

+ Full HTML Browser + CD with User Manual

« Google Mobile™ Services
+ DLNA® Support Through

AllShare™ Pre-Loaded Apps
« Wi-Fi + Alarm Clock
+ Bluetooth® 3.0 « Calculator

http://www.uscellular.com/uscellular/cell-phones/showPhoneDetails.jsp?productId=prod60188[ 10/15/2012 2:11:20 PM]
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Case 5:11-cv-01846-LHK

Document 2068-5 Filed 10/20/12 Page 3 of 3

+ Support for Corporate and
Personal Email

Technical Specifications

» E911 Ready

« Internal Memory: 2GB

+ CDMA - 1x EVDO (3G)

+ Talk Time up to 7 hours*

+ Standby Time Up 13 days*

« Video Files Supported: MPEG4
(Encoding 15fps@SD), H.263,
H.264 AVC

+ Dimensions: 4.92" x 2.53" x
0.39"

« Weight: 4.16 oz.

+ Hearing Aid Compatibility - M4
Rating

Calendar

City ID®

Buddies Now
Gmail™

Google Maps

Google Play

Google Talk

My Contacts Backup
AccuWeather® Clock
Tone Room Deluxe
Your Navigator Deluxe turn-
by-turn navigation
YouTube™

Write and Go

* times may vary depending on user settings, feature use and network configurations

Things We Want You To Know (Disclaimer)

Need Assistance?
Contact Us

Support

Store Locator

Coverage Maps

Rebate Center

Device Protection Claims

Return Policy

Shop

Phones

Plans

Offers

Tablets

Wireless Modems
Mobile Hotspots
Accessories
Business Services

Estimate your monthly
data usage

Current Customers
My Account

Redeem Points
Support

Send A Text Message
Browse All Apps
Voicemail Setup
Change Plan Or Phone
My Contacts Backup

Voice Mail to Text
Preferences

Learn How to Manage Your
Data Usage

Rewards Program
Rewards

Earn & Redeem Reward
Points

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